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                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF VERMONT




                                                                             Filed & Entered
                                                                                On Docket
                                                                               July 24, 2019

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 In re
 HERMITAGE INN REAL ESTATE                                             Chapter 11
 HOLDING COMPANY, LLC,                                                 Case # 19-10214
                  Debtor.                                              Jointly Administered
 ________________________________

 In re
 HERMITAGE CLUB, LLC,                                                  Chapter 11
                   Debtor.                                             Case # 19-10276
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                                           ORDER
                          IMPOSING TIME LIMIT ON EVIDENTIARY HEARING
                      AND MODIFYING SCHEDULE FOR HEARINGS ON JULY 26, 2019

       As of today’s date, there are several hearings scheduled in these jointly administered cases, for
Friday, July 26, 2019, in the U.S. Bankruptcy Court in Rutland, Vermont, to wit:
1. 10:00 a.m. meeting of Creditors, pursuant to 11 U.S.C. § 341
2. 11:45 a.m. hearing on the U.S. trustee’s motion to either (a) convert cases to chapter 7, (b) dismiss
              cases, or (c) appoint a chapter 11 trustee (doc. # 126)
3. 12:00 P.M. case management conference
4.   1:00 P.M. evidentiary hearing on Debtors’ motion to approve DIP financing (doc. # 147) and
               Debtors’ motion to assume insurance finance agreement (doc. # 90)

       In light of the responses parties in interest have filed to each of these motions, the joint
stipulation of facts and exhibits (# 166) the parties have filed, and the reality that how the Court rules on
the Debtors’ two motions may determine the outcome of the U.S. trustee’s motion, and to make best use
of the time and resources of the Court, the parties, and counsel, THE COURT FINDS it is reasonable
and in the best interest of all to (i) modify the hearing schedule and (ii) reduce the amount of time
allocated to the evidentiary hearing from 5.25 hours (as proposed in the Joint Notice of Evidentiary
Hearing, doc. # 156) to 4 hours (set forth below), so these hearings may all be completed by 5:00 P.M.
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        Therefore, IT IS HEREBY ORDERED that, unless the parties show cause for an alternate or
extended schedule, the hearings on July 26, 2019, in these jointly administered cases, shall proceed as
follows*:
I. 10:00 – 11:20 meeting of Creditors, pursuant to 11 U.S.C. § 341
II. 11:30 – 1:00 begin evidentiary hearing on Debtors’ motion to approve DIP financing (doc. # 147)
                 and Debtors’ motion to assume insurance finance agreement (doc. # 90)
    1:00 – 2:00      lunch break
    2:00 – 4:00      continue and conclude evidentiary hearing on Debtors’ motions (doc. ## 90, 147)
III. 4:00 – 4:30     hearing on the U.S. trustee’s motion to either (a) convert cases to chapter 7, (b) dismiss
                     cases, or (c) appoint a chapter 11 trustee (doc. # 126)
IV. 4:30 – 5:00      case management conference (if case is still in chapter 11 after the preceding hearing)

         SO ORDERED.

                                                                                      __________________________
July 24, 2019                                                                         Colleen A. Brown
Burlington, Vermont                                                                   United States Bankruptcy Judge




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* with the caveat that if any of these hearings finish earlier than indicated, the next hearing will begin immediately
  thereafter.
